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                         UNITED STATES BANKRUPTCY COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

 IN RE:                                                        Case No. 16-06344-dd

 Beds & Such, Inc.,
                                                                      Chapter 7
                                        Debtor.

        APPLICATION FOR EMPLOYMENT OF COMPUTER CONSULTANTS

       Robert F. Anderson, Chapter 7 Trustee (“Trustee”) requests that the Court authorize him
to employ James F. Brunson, IV, d/b/a Southeastern Help Desk (“Southeastern”) as computer
consultants for the Estate. 11 U.S.C. § 327(a).
       The Trustee wishes to employ Southeastern to assist him in preserving and cataloguing
computer-stored information of the Debtor on existing computers and/or servers.                 The
employment of Southeastern is necessary as neither the Trustee nor his staff have the expertise to
accomplish this task.
       Southeastern has provided the Trustee with the following proposed scope of employment:
        1.      Early Case Assessment: Meet with the Trustee to discuss the request for service
and develop a plan for the efficient collection of all relevant sources of ESI. Preferably this will
occur at the site so that an initial survey of the location can be conducted to determine the
number of computers present, identify the operating systems in use, document any network
devices in use, and inventory all types of media that may be collected for imaging. Physical
media such as hard drives should be inventoried to record the manufacturer, model, capacity and
location. Removable media should be noted as well. If there are network attached storage devices
or any type of servers present, their storage configuration, network settings, common shared
folders and roles should be ascertained. Consultations with the Trustee during this phase are non-
billable.

        2.      Estimated Service Billing: Based on the findings from the early case
assessment, an estimate of the costs required to complete the requested job will be provided.
This estimate will include all labor and hardware expenses listed separately. Labor will be billed
at $80.00 per hour. All hardware is to be sold at cost, and listed as a reimbursed expense. Modern
hard drives can be very large and may require several hours of automated processing time to
complete the imaging process. Computer processing time will not be billable. Only time that
requires direct user input or analysis will be billed. Onsite collection time will also be billable.

        3.     Imaging: All hard drives collected will be documented. The imaging process
will be completed in a manner that creates a bit stream image in order to preserve slack space.
Whenever possible the images will be saved in the .E01 format to allow the image to be
compressed. This will reduce costs by allowing the target drive to contain images from several
source drives. A hardware write blocking device will be used to prevent any alterations the
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source drive. The drive source and target image will be verified and the matching hash values
will be listed in the log file. A preliminary index of all the directories and files located on the
drive will also be created and exported to a .CSV format. In some cases it may not be possible to
image a drive that has been removed from a system, for example if the drive is part of a RAID
array. In this situation a live image of the drive will be created using a bootable or live forensic
Linux distribution, and the resulting image will be cloned in the .DD file format.

       Based on the above procedure, Southeastern estimates that the services to be rendered to
the Trustee in the within Estate will amount to approximately $3,500.00. The Trustee is aware
that this amount is an estimate only, and may need to be adjusted to accommodate more or less
hours and hardware needed to complete the job. The Trustee and Southeastern understand that
the compensation set by the Court may differ from that agreed to between them.
       The Trustee reserves the right to employ the services of Southeastern for additional
projects should such be necessary in the future for the effective administration of the Estate.
Any future projects shall be billed as outlined above.
       The Trustee believes that Southeastern is a disinterested person as that term is defined by
11 U.S.C. § 101(14) and that it does not hold or represent an interest adverse to the estate.
       Southeastern has no connection with the Debtor, creditors, any other party in interest,
their respective attorneys and accountants, the United States Trustee or any person employed in
the office of the United States Trustee, except that it has been, and is, providing computer-related
services to the Trustee's law firm, Anderson & Associates, P.A.
       The Trustee requests that the Court consider his application and authorize the
employment of Southeastern as computer consultants.




                                               /s/Robert F. Anderson_________________
                                              Robert F. Anderson, Trustee    ID #1091
                                              P.O. Box 76
                                              Columbia, SC 29202
January 9, 2017                               (803) 252-8600
                                              bob@andersonlawfirm.net
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                               FEE SCHEDULE



                        SOUTHEASTERN HELP DESK
                            James F. Brunson, IV




                       Onsite support            $80.00/hour

                       Remote support            $60.00/hour
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                         UNITED STATES BANKRUPTCY COURT


                       FOR THE DISTRICT OF SOUTH CAROLINA

                                                                Case No. 16-06344-dd
 IN RE:

                                                           AFFIDAVIT OF PROPOSED
 Beds & Such, Inc.,
                                                                  PROFESSIONAL

                                          Debtor.
                                                                        Chapter 7

STATE OF SOUTH CAROLINA               )
                                      )        ss

COUNTY OF RICHLAND                    )

James F. Brunson, IV. d/b/a Southeastern Help Desk {"Southeastern") hereby makes solemn oath
that:

1.      It provides computer design and consulting services, doing business in the State of South
        Carolina.


2.      It maintains a business location at 801 South Ott Road. Columbia. SC 29205.
        Telephone No.(803)250-1926, e-mail: sonny.brunsonf^souiheastemhclpdesk.com.

3.      It holds no interest adverse to the estate in any manner upon which it is to become
        employed, nor has it. nor any of its employees, agreed to accept any remuneration from
        any party other than as approved by this Court for the duties it is about to embark upon.

4.      It has no connection with the Debtor, the creditors, any other party in interest, their
        respective attorneys and accountants, the U.S. Trustee, nor any person employed in the
        Office of the U.S. Trustee, except that it has provided services to the Trustee in other
        cases. It further provides services to Panel Trustee Haiglcr.

5.      It meets the definition of a "disinterested person" within the meaning of §§ 101 and 327
        of the Bankruptcy Code.

                                                       SOUTHEASTERN HELP DESK



                                               By:
                                                       James F. Brunson. IV

SWORN TO AND SUBSCRIBED before me on
this 9th day of January. 2017


NOTARY PUBl.lC FOR SOUTH CAROLINA
My Commission Expires:       /2'/?- '2o'2J^
